                    Case 23-50453-JTD           Doc 13       Filed 01/10/24       Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                    )
In Re:                              )
                                    )                         Chapter 11
WARDMAN HOTEL OWNER, L.L.C.,1 )
                                    )                         Case No. 21-10023 (JTD)
            Debtor.                 )
____________________________________)
                                    )
WARDMAN HOTEL OWNER, L.L.C.,        )
                                    )
            Plaintiff,              )
                                    )
            v.                      )                         Adv. Proc. No. 23-50453 (JTD)
                                    )
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
____________________________________)

      RESPONSE BY DEFENDANT DISTRICT OF COLUMBIA TO PLAINTIFF
    WARDMAN HOTEL OWNER, L.L.C.’S MOTION FOR SUMMARY JUDGMENT
        ON ITS ADVERSARY COMPLAINT FOR DECLARATORY RELIEF2

         In September 2020, Debtor/Plaintiff Wardman Hotel Owner, L.L.C. sued the District of

Columbia in the Superior Court for the District of Columbia, seeking a partial refund of more than

$1 million on the Tax Year 2020 real property taxes paid on its convention-center hotel at 2660

Woodley Road NW in Washington, D.C. (the “2020 Refund Claim”).3 Less than four months later,

the Debtor filed its Chapter 11 petition in this Court and inexplicably failed to disclose the 2020




         1
          The last four digits of Debtor’s U.S. tax identification number are 9717. Debtor’s mailing address is 5996
Mitchell Road, #16, Atlanta, GA 30328.
        2
          The Court’s Order dated January 3, 2024, provides that the deadline for the District’s response is January
10, 2024, 4:00 p.m. (ET) (Dkt. No. 12.) Undersigned counsel got unexpectedly delayed in a bankruptcy hearing in
Washington, D.C., which necessitated the late filing of this response.

         3
             Wardman Hotel Owner, L.L.C. v. District of Columbia,2020 CVT 000511 (D.C. Super. Ct.).


                                                         1
                    Case 23-50453-JTD            Doc 13        Filed 01/10/24        Page 2 of 3




Refund Claim in its Schedule of Assets and Liabilities and its Statement of Financial Affairs.4 (21-

10023, Dkt. Nos. 134, 135.) Two years went by and still the Debtor never disclosed the existence

of the 2020 Refund Claim to its creditors or this Court.

         This led the District to move for summary judgment in the Superior Court on the 2020

Refund Claim, arguing that the Debtor should be estopped from pursuing it based on its

unexplained failure to disclose in its bankruptcy case. The Debtor moved quickly thereafter to

amend its Schedule of Assets and Liabilities and its Statement of Financial Affairs to disclose the

Tax Year 2020 claim. (21-10023, Dkt. No. 469.)

         Considering the Debtor’s now corrected disclosures, the District does not oppose or

otherwise dispute Debtor’s request for a declaratory judgment that (1) the 2020 Refund Claim is

the property of the Debtor’s estate; (2) the subsequent 2021 Refund Claim is the property of the

Debtor’s estate5; and (3) it is not judicially estopped from pursuing the 2020 Refund Claim and

2021 Refund Claim. (Dkt. No. 1, Compl. p. 18, ¶¶ 1-3.)

Dated: January 10, 2024                           Respectfully submitted,
                                                  BRIAN L. SCHWALB
                                                  Attorney General for the District of Columbia

                                                  DAVID FISHER
                                                  Deputy Attorney General, Commercial Division

                                                  DAVID A. BRADLEY
                                                  Assistant Deputy Attorney General, Commercial Division

                                                  WILLIAM BURK
                                                  Section Chief, Land Acquisition and Bankruptcy

                                                  KRISTIAN A. CROOKS
                                                  Section Chief, Tax and Finance

         4
           A debtor seeking shelter under the bankruptcy laws must disclose all assets, or potential assets, to the
bankruptcy court. 11 U.S.C. § 521(1), 541(a)(7). Indeed, this “obligation of full disclosure is crucial to the integrity
of the bankruptcy process.” In re Hyde, 222 B.R. 214, 219 (Bankr. S.D.N.Y. 1998).
         5
             Wardman Hotel Owner, L.L.C. v. District of Columbia, 2021 CVT 000434 (D.C. Super. Ct.).

                                                           2
               Case 23-50453-JTD          Doc 13      Filed 01/10/24   Page 3 of 3




                                          ___/s/ Nancy Alper__________________
                                          NANCY ALPER, D.C. Bar No. 411324
                                          Senior Assistant Attorney General
                                          Land Acquisition and Bankruptcy Section
                                          400 6th Street NW, Suite 9100
                                          Washington, DC 20005
                                          (202) 724-8122


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of January 2024, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF system, which will automatically

send e-mail notifications to all parties and counsel of record.

                                          ___/s/ Nancy Alper__________________
                                          NANCY ALPER, D.C. Bar No. 411324




                                                  3
